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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

  DANESH     NOSHIRVAN,           an
  individual,

              Plaintiff,

  v.                                    Case No:      2:23-cv-1218-JES-KCD

  JENNIFER      COUTURE,      an
  individual, RALPH GARRAMONE
  M.D., an individual, RALPH
  GARRAMONE M.D. P.A., CENTRAL
  PARK OF SOUTHWEST FLORIDA,
  LLC, WRAITH, LLC, SULLIVAN
  STREET   INVESTMENTS,     LLC,
  HAIRPIN   TURN,     LLC,   OMG
  REALTY, LLC, R G WEIGHT
  MANAGEMENT,    LLC,    CENTRAL
  PARK SOUTH, LLC, BRANTLEE,
  LLC,    LEGACY     OF    MARIE
  GARRAMONE, LLC, GARRAMONE
  MARKETING,      INC.,     5681
  DIVISION LLC, THE LAW OFFICE
  OF PATRICK TRAINOR ESQ. LLC,
  PATRICK      TRAINOR,       an
  individual, and ANTI-DOXING
  LEAGUE INC.,

              Defendants.


                                        ORDER

        This matter comes before the Court on review of the file,

  including the Motion for Rule 11 Sanctions Against Plaintiff’s

  Counsel Nicholas Chiappetta (“Chiappetta”) (Doc. #202) filed by

  Patrick Trainor (“Trainor”), as well as the Motion to Extend Expert

  Witness   Disclosure       Deadline   and     for   Sanctions    for   Bad   Faith
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  Litigation    Tactics      (Doc.   #266)    filed     by     Danesh   Noshirvan

  (“Noshirvan” or “Plaintiff”).

        Trainor’s Motion asserts that Chiappetta should be sanctioned

  under Rule 11 of the Federal Rules of Civil Procedure for filing

  a declaration from James McGibney (“McGibney”), (see Doc. #170-

  10), 1 which Chiappetta knew or should have known falsely asserted

  that Trainor conspired with non-party Joseph Camp (“Camp”) to

  harass a process server and her company.

        Plaintiff’s    Motion    asserts     various    conduct    by   different

  parties should be sanctioned under the Court’s inherent powers. It

  asserts that Trainor, Ralph Garramone, Jennifer Couture, and Ralph

  Garramone M.D. P.A. D/B/A Garramone Plastic Surgery should be

  sanctioned for various discovery abuses. It also asserts that

  Trainor should be sanctioned for fabricating false statements and

  making    misrepresentations       regarding     McGibney,      including    the

  declaration at center of Trainor’s Motion. (See Doc. #266, p. 22.)

  And lastly, it asserts that Defendants should be sanctioned for

  working in concert with non-parties Camp and Richard Luthmann to

  intimidate and harass Plaintiff’s witnesses. Plaintiff asserts

  that one of his witnesses has already withdrawn because of the

  ongoing intimidation.


  1  Plaintiff labeled this exhibit as “Exhibit J.” However, the
  exhibit appears on the Court’s CM/ECF system as Exhibit 10. The
  Court will cite each exhibit herein by the numerical number
  assigned to it by the Court's CM/ECF system.


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        As the Eleventh Circuit recently summarized:

        Rule 11 sanctions are warranted “when a party files a
        pleading that (1) has no reasonable factual basis; (2)
        is based on a legal theory that has no reasonable chance
        of success and that cannot be advanced as a reasonable
        argument to change existing law; and (3) is filed in bad
        faith for an improper purpose.” Baker v. Alderman, 158
        F.3d 516, 524 (11th Cir. 1998). And courts have the
        inherent power to “fashion an appropriate sanction for
        conduct which abuses the judicial process.” Chambers,
        501 U.S. at 44–45, 111 S. Ct. at 2133. A court may
        exercise this power “to sanction a party who has acted
        in bad faith, vexatiously, wantonly, or for oppressive
        reasons.” Purchasing Power, LLC v. Bluestem Brands,
        Inc., 851 F.3d 1218, 1223 (11th Cir. 2017) (quotation
        marks omitted). This power is “unlock[ed]” only upon a
        finding of bad faith. Barnes v. Dalton, 158 F.3d 1212,
        1214 (11th Cir. 1998).

  Johnson v. 27th Ave. Caraf, Inc., 9 F.4th 1300, 1314 (11th Cir.

  2021).

        The Court will conduct an in-person evidentiary hearing for

  the sanctions motions on May 19th, 2025 at 10:30 AM EST. No

  extensions will be granted. The Court will also establish, as

  detailed in a forthcoming separate order, a limited and strict

  discovery window regarding the witness intimidation and harassment

  allegations. The parties should be prepared, with evidence, to

  show what sanctions, if any, are or are not merited under Rule 11

  or the Court’s inherent powers.

        Accordingly, it is now

        ORDERED:

     1. The Parties are hereby ORDERED to attend an EVIDENTIARY

        HEARING at 10:30 a.m. on Monday, May 19, 2025, in Courtroom


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        6A,   2110   First   Street,    Fort     Myers,    Florida    33901.    The

        undersigned will preside. No extensions or changes to the

        hearing date will be permitted.

     2. An order setting discovery for the witness intimidation and

        harassment issue will be issued separately.

        DONE AND ORDERED at Fort Myers, Florida, this _10th                 day of

  April 2025.




  Copies: Parties of record




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